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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 21-cv-23677-ALTMAN/Reid

 JARROD BUTLER
 on his behalf and on behalf of those similarly situated,

          Plaintiff,

 v.

 COMMUNITY CONNECTIONS
 FOR LIFE, INC., et al.,

       Defendants.
 _________________________________________/

                          ORDER IN CASES WITH MULTIPLE DEFENDANTS

          To better manage the orderly progress of the case, the Court hereby ORDERS as follows:

      1. The Plaintiff in this case shall file proof of service, as to each Defendant, within seven days of

          perfecting service on each Defendant.

      2. The Defendants shall file their responses and motions jointly.

               a. If conflicts of position exist, the co-Defendants shall file a motion for leave to file separate

                       responses or motions, in which they must describe what those conflicts are.

               b. If the co-Defendants need more than twenty pages for their joint responses or

                       motions, they shall file a motion for leave to file excess pages, which the Court will consider

                       expeditiously.

      3. The co-Defendants may file separate answers to the complaint. 1 The time for responsive

          pleadings—for all Defendants—begins to run when the last Defendant is served.




 1
  If the Defendants file a joint response or motion, it must contain all bases for dismissal, stay,
 abstention, or other relief the Defendants intend to raise. Nothing in this Order precludes the
 Defendants from later raising (non-waivable) jurisdictional defenses.
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       4. Failure to comply with these procedures may result in sanctions, including the striking of the

          motion(s) or response(s).

          DONE AND ORDERED in Miami, Florida, this 26th day of October 2021.




                                                            _________________________________
                                                            ROY K. ALTMAN
                                                            UNITED STATES DISTRICT JUDGE
 cc:      counsel of record




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